          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 1 of 19




1    David M. Berger (SBN 277526)
     Linda P. Lam (SBN 301461)
2    Jeffrey B. Kosbie (SBN 305424)
     GIBBS LAW GROUP LLP
3    1111 Broadway, Suite 2100
     Oakland, California 94607
4    Telephone: (510) 350-9700
     Facsimile: (510) 350-9701
5    dmb@classlawgroup.com
6    lpl@classlawgroup.com
     jbk@classlawgroup.com
7
     Counsel for Plaintiffs
8

9                               UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11

12   ARNAB MITRA and ZARINA ABARDO,              Case No.
     individually and on behalf of all others
13   similarly situated,
                                                 CLASS ACTION COMPLAINT AND
14                                               DEMAND FOR JURY TRIAL
              Plaintiffs,
15
              v.
16
     SEQUOIA BENEFITS AND INSURANCE
17   SERVICES, LLC and SEQUOIA ONE PEO,
     LLC,
18
              Defendants.
19

20

21

22

23

24

25

26

27

28

                                              -1-
                                      CLASS ACTION COMPLAINT
          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 2 of 19




1           Plaintiffs Arnab Mitra and Zarina Abardo, individually and on behalf of all others similarly
2    situated, bring this action against Sequoia Benefits and Insurance Services, LLC and Sequoia One
3    PEO, LLC (collectively, “Sequoia” or “Defendants”), and allege as follows:
4                                             INTRODUCTION
5           1. Plaintiffs bring this class action against Sequoia on behalf of themselves and all other
6    persons harmed by the Data Breach that Sequoia announced in or around December 2022 (the “Data
7    Breach”).
8           2. Sequoia offers human resources, employee compensation, and employee benefits
9    management and administrative services to businesses. Sequoia One PEO also offers services for
10   employee onboarding, risk and safety management, and worker training and development. Sequoia is
11   used by businesses of all sizes, ranging from startups to public companies such as BuzzFeed and
12   Peloton. Sequoia boasts over 1,700 corporate clients – meaning it stores sensitive personal data on
13   millions of employees and their family members.
14          3. Despite marketing itself as a safe repository for sensitive information, Sequoia failed to
15   take basic precautions designed to keep that information secure. According to Sequoia, between
16   September 22, 2022, and October 6, 2022, hackers gained access to the cloud system that Sequoia
17   uses to store a wide range of sensitive personal information on its customers’ employees and their
18   family members – including names, addresses, dates of birth, employment status, marital status, Social
19   Security numbers, wage data related to benefits, member identification cards, Covid-19 test results,
20   and vaccination cards.
21          4. In the Data Breach notification letters, Sequoia admits that information in its cloud storage
22   system was accessed by unauthorized individuals. The particularly sensitive nature of the exposed
23   data, which includes Social Security numbers, driver’s license numbers, and medical information,
24   means Plaintiffs and Class members have suffered irreparable harm and are subject to an increased
25   risk of identity theft for the foreseeable future. Indeed, the information taken in the Sequoia Data
26   Breach already is reportedly being used to perpetrate identity theft against class members.
27          5. The Data Breach was the result of Sequoia’s failure to implement reasonable policies and
28   procedures to protect the security of the personally identifiable information (PII) it collected as part

                                                -2-
                                        CLASS ACTION COMPLAINT
          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 3 of 19




1    of its business.
2            6. As a result of the Data Breach, Plaintiffs’ and Class members’ PII has been exposed to
3    criminals for misuse. The injuries Plaintiffs and the Class have suffered and will continue to suffer
4    include: theft of personal, medical, and financial information; financial losses caused by misuse of
5    their PII; the loss in value of their PII as a result of the Data Breach; lost time and costs associated
6    with the detection and prevention of identity theft; the loss in the benefits that Defendants were to
7    provide Plaintiffs; and lost time and costs associated with spending time to address and mitigate the
8    actual and future consequences of the breach.
9                                       JURISDICTION AND VENUE
10           7. This Court has jurisdiction over this action under the Class Action Fairness Act, 28
11   U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of interest and costs.
12   At least one member of the Class defined below is a citizen of a different state than Defendants, and
13   there are more than 100 putative Class members.
14           8. This Court has personal jurisdiction over Defendants because Defendants maintain their
15   principal place of business in this District, are registered to conduct business in California, and have
16   sufficient minimum contacts with California.
17           9. Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial part of
18   the events or omissions giving rise to the claims occurred in this District.
19                                   INTRADISTRICT ASSIGNMENT
20           10. Under Local Rule 3-2(c) and (d), assignment of this action to the San Francisco or Oakland
21   Division is proper because Defendant Sequoia Benefits and Insurance Services, LLC is headquartered
22   in the County of San Mateo and Defendant Sequoia One PEO, LLC is headquartered in the County of
23   San Francisco, and a substantial part of the events or omissions which give rise to the claims alleged
24   herein occurred in those counties.
25                                                 PARTIES
26           11. Plaintiff Arnab Mitra is a citizen of Utah and resides in Salt Lake City, Utah. Mr. Mitra
27   works for an organization that uses Sequoia One PEO, LLC to manage its employee compensation
28   and benefits. In December 2022, he received a data breach notification from Sequoia informing him

                                                  -3-
                                          CLASS ACTION COMPLAINT
          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 4 of 19




1    that PII concerning him, his wife, and their two young children was compromised in the Data Breach.
2    As a consequence of the Data Breach, Mr. Mitra has been forced to and will continue to invest
3    significant time monitoring his and his family’s accounts to detect and reduce the consequences of
4    likely identity fraud. Despite the fact that his young children should not yet have credit files, Mr. Mitra
5    is concerned that he will have to freeze their credit reports to ensure that no one can take out credit in
6    their names. Around the end of November 2022, someone tried to open a credit card in his wife’s
7    name, and she was advised to file a police report by Bank of America.
8           12. Plaintiff Zarina Abardo is a citizen of New York and resides in New York City, New York.
9    Ms. Abardo works for an organization that uses Sequoia One PEO, LLC to manage its employee
10   compensation and benefits. In December 2022, Ms. Abardo received a Data Breach notification letter
11   from Sequoia informing her that PII concerning her and her partner was compromised in the Data
12   Breach.
13          13. Defendant Sequoia Benefits and Insurance Services, LLC (“Sequoia Benefits”) is a
14   California corporation headquartered at 1850 Gateway Drive, Suite 700, San Mateo, CA 94404.
15   Sequoia Benefits offers services, including a software platform that allows businesses to manage
16   employee experience, employee statistics, compensation, and benefits.
17          14. Defendant Sequoia One PEO, LLC (“Sequoia One”) is a California corporation
18   headquartered at 22 4th Street, 14th Floor, San Francisco, CA 94103. Sequoia One is a corporate
19   affiliate of Sequoia Benefits that manages human resources, payroll, and employee benefits for
20   businesses.
21          15. Defendants Sequoia Benefits and Insurance Services, LLC and Sequoia One PEO, LLC
22   are related entities, with Sequoia One PEO specializing in servicing small businesses. Both
23   Defendants issued breach notification letters following the Data Breach.
24                                        FACTUAL BACKGROUND
25      A. Background on Sequoia
26          16. Sequoia Benefits is a human resources, payroll, and benefits management company based
27   in California. It provides software that allows businesses to streamline employee compensation, health
28   benefits, retirement plans, and compliance with human resources requirements. Sequoia Benefits also

                                                 -4-
                                         CLASS ACTION COMPLAINT
            Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 5 of 19




1    provides consulting services on those same topics.
2             17. Sequoia One provides outsourced human resources, benefits, and payroll. Sequoia One's
3    services are particularly marketed to startups, trying to grow quickly and confidently. Sequoia’s
4    website lists Sequoia One under services offered by Sequoia and explains that when a company is
5    ready to move from the outsource model, Sequoia will help the company transition to other Sequoia
6    products and services.
7             18. Sequoia has been in business for over 20 years. Its annual revenue is $184 million. 1 The
8    company serves over 1,700 corporate clients, including Dropbox, Zoom, Buzzfeed, and Minted.
9    Sequoia is also popular with startups, and says it works with over 500 venture-backed companies.
10            19. Sequoia promotes itself as being able to help businesses “establish secure processes for
11   uploading health information, storing medical verification documents, and ensuring only the right
12   people have access to this sensitive data.” 2
13            20. Sequoia also markets itself as an authority on cybersecurity. For example, it publishes
14   articles to advise its customers and other employers on cybersecurity, including a “Guide to Cyber
15   Protection,” 3 “Cyber Liability in the Time of Covid: Ransomware,” 4 and “Policies for Remote Work:
16   Cybersecurity.” 5
17         B. The Data Breach
18            21. As reported by Sequoia, between September 22, 2022, and October 6, 2022, hackers
19   successfully infiltrated the cloud storage system that Sequoia uses to store sensitive personal
20   information on its customers’ employees and their dependents. The system contained a wide range of
21   personal information, including names, addresses, dates of birth, employment status, marital status,
22   Social Security numbers, wage data related to employee benefits, member identification cards,
23   personal ID cards such as driver’s licenses, Covid-19 test results, and vaccination cards.
24
     1
         https://www.zoominfo.com/c/sequoia-llc/156303577
25
     2
         https://www.sequoia.com/platform/workplace/
26   3
         https://www.sequoia.com/2017/08/guide-cyber-protection/
27   4
         https://www.sequoia.com/2020/11/cyber-liability-in-the-time-of-covid-ransomware/
     5
28       https://www.sequoia.com/2020/11/policies-for-remote-work-cybersecurity/

                                                -5-
                                        CLASS ACTION COMPLAINT
            Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 6 of 19




1             22. On or around December 2, 2022, it began sending data breach notification letters to the
2    individuals whose data was exposed in the breach.
3             23. Sequoia has declined to disclose how many individuals’ data was compromised in the
4    breach. But based on the company’s long list of customers, and the scope of information that Sequoia
5    carelessly stored in the cloud, the breach likely affected millions of individuals.
6             24. Sequoia’s Data Breach notification letters attempt to downplay the harm caused by the
7    Data Breach, stating that Sequoia conducted a forensic review of the breach and “found no evidence
8    that the unauthorized party misused or distributed data” at this time. 6 This statement appears to be
9    designed mislead the data breach victims. Forensic reviews examine the breached company’s
10   information systems to determine the scope of the intrusion and what data was taken; they do not
11   typically investigate whether the hackers have misused or distributed the data. In fact, Sequoia’s
12   breach notification letters admit that there was unauthorized access to the PII of Plaintiffs and Class
13   members. Cybercriminals seek access to exactly the kind of PII that Sequoia left exposed precisely
14   because they can use it to commit identity theft and other fraud. That means that the individuals
15   affected by the Data Breach remain at risk that their data will be distributed on the dark web and
16   fraudulently used in the future. The extent of the breach and the level of harm it will incur on the
17   affected individuals is not yet known.
18         C. The Data Breach Was Entirely Avoidable and Foreseeable.
19            25. Sequoia could have easily prevented the Data Breach. It failed to take adequate and
20   reasonable measures to ensure its computer and cloud storage systems were protected against
21   unauthorized access.
22            26. Sequoia was well aware of the need to protect the PII that it collects and maintains. The
23   PII compromised in the Data Breach is a valuable commodity to identity thieves, and Sequoia knew
24   or should have known of the likelihood of attempted cyberattacks. In fact, Sequoia’s articles on
25   cybersecurity make clear that Sequoia realized the risks of unsecured databases, particularly those
26   hosted in the cloud.
27
     6
28       https://www.wired.com/story/sequoia-hr-data-breach/ (last visited December 11, 2022).

                                                -6-
                                        CLASS ACTION COMPLAINT
               Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 7 of 19




1               27. Sequoia also failed to disclose to Plaintiffs and Class members that its systems and security
2    practices were inadequate to reasonably safeguard their sensitive personal information, and then failed
3    to immediately notify them of the data breach.
4               28. The Federal Trade Commission has established guidelines for fundamental data security
5    principles and practices for businesses. 7 Among other things, the guidelines note businesses should
6    encrypt information stored on computer networks, understand their network’s vulnerabilities, and
7    implement policies to correct security problems. The guidelines also recommend that businesses use
8    an intrusion detection system to expose a breach as soon as it occurs, monitor all incoming traffic for
9    activity indicating someone is attempting to hack the system, and have a response plan ready in the
10   event of a breach. 8
11              29. Sequoia was at all times aware of its obligations under federal and state laws and
12   regulations to protect data entrusted to it. Despite that awareness, Sequoia’s treatment of the PII it
13   stored for Plaintiffs and Class members fell short of satisfying its legal obligations. Among other
14   things, Sequoia failed to encrypt the PII in its possession, and failed to implement and maintain
15   reasonable measures to prevent unauthorized access to that data. To the extent Sequoia relied on
16   outside vendors for cloud security, it failed to ensure that they were implementing reasonable security
17   controls.
18         D. The Data Breach Harmed Plaintiffs and Class Members, and Will Cause Additional
              Harm.
19
                30. Individuals who have been victims of data breaches are much more likely to become
20
     victims of identity theft than those who have not. The FTC defines identity theft as “a fraud committed
21
     or attempted using the identifying information of another person without authority.” 17 C.F.R.
22
     § 248.201(9).
23
                31. PII is highly valuable to identity thieves because, as the FTC explained, “[o]nce identity
24

25
     7
26     Federal Trade Commission, Protecting Personal Information: A Guide for Business (Oct. 2016),
     https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
27   information.pdf (last visited December 11, 2022).
     8
28       Id.

                                                   -7-
                                           CLASS ACTION COMPLAINT
          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 8 of 19




1    thieves have your personal information, they can drain your bank account, run up charges on your
2    credit cards, open new utility accounts, or get medical treatment on your health insurance.” 9
3           32. Social Security numbers are among the worst kind of personal information to have stolen
4    because they may be put to a variety of fraudulent uses and are difficult to change. The Social Security
5    Administration stresses that the loss of an individual’s Social Security number can lead to identity
6    theft and extensive financial fraud:
7           A dishonest person who has your Social Security number can use it to get other
8           personal information about you. Identity thieves can use your number and your good
            credit to apply for more credit in your name. Then, they use the credit cards and don’t
9           pay the bills, it damages your credit. You may not find out that someone is using your
            number until you’re turned down for credit, or you begin to get calls from unknown
10          creditors demanding payment for items you never bought. Someone illegally using
            your Social Security number and assuming your identity can cause a lot of
11
            problems. 10
12

13          33. Therefore, information compromised in this Data Breach is more valuable than the loss of,

14   for example, credit card information in a retailer data breach. There, victims can close credit and debit

15   card accounts, typically for free. Here, the information compromised—Social Security numbers,

16   names, dates of birth, and addresses—cannot be “closed” and is difficult, if not impossible, to change.

17          34. Sequoia is offering victims three years of free identity protection services, but the identity

18   protection services Sequoia is offering are inadequate protection. In fact, identity thieves often hold

19   onto personal information in order to commit fraud years after such free programs expire.

20          35. As a direct and proximate result of Sequoia’s wrongful actions, inaction and/or omissions,

21   the resulting Data Breach, and the unauthorized disclosure of Plaintiffs’ and Class members’ PII,

22   Plaintiffs and Class members have suffered, and will continue to suffer, ascertainable losses, economic

23   damages, and other injuries, including:

24              a. The compromise, publication, theft, and/or unauthorized use of their PII;

25
     9
26    http://www.leginfo.ca.gov/pub/15-16/bill/asm/ab_1551-
     1600/ab_1580_cfa_20160613_144620_sen_comm.html (last visited December 11, 2022).
27   10
        Social Security Administration, Identity Theft and Your Social Security Number, available at:
28   https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited December 11, 2022).

                                                -8-
                                        CLASS ACTION COMPLAINT
          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 9 of 19




1               b. Lost value of their PII as a result of its theft and unauthorized use;
2               c. Loss of the benefit of the bargain that Sequoia agreed to provide to Plaintiffs and Class
3                   Members;
4               d. Out-of-pocket costs associated with the prevention, detection, recovery, and
5                   remediation from identity theft or fraud;
6               e. Lost opportunity costs and lost wages associated with efforts expended and the loss of
7                   productivity from addressing and attempting to mitigate the actual and future
8                   consequences of the data breach, including but not limited to efforts spent researching
9                   how to prevent, detect, contest, and recover from identity theft and fraud; and
10              f. Current and future costs in terms of time, effort, and money that will be expended to
11                  prevent, detect, contest, remediate, and repair the impact of the Data Breach for the
12                  remainder of Plaintiffs’ and Class members’ lives.
13          36. In addition to a remedy for economic harm, Plaintiffs and Class members maintain an
14   undeniable interest in ensuring that their PII is secure, remains secure, and is not subject to further
15   misappropriation and theft.
16          37. To date, other than providing three years of identity protection services, Sequoia does not
17   appear to be taking any measures to assist Plaintiffs and Class members.
18                             CLASS DEFINITION AND ALLEGATIONS
19          38. Pursuant to Federal Rules of Civil Procedure 23(b)(2), (b)(3) and (c)(4), Plaintiffs seek
20   certification of the following nationwide class (“Nationwide Class”):
21          All persons in the United States whose personal information was compromised in the
22          data breach publicly announced by Sequoia in December 2022.

23
     Plaintiff Mitra also seeks certification of a Utah Subclass, defined as follows:
24
            All Utah residents whose personal information was compromised in the data breach
25          publicly announced by Sequoia in December 2022.
26   Plaintiff Abardo also seeks certification of a New York Subclass, defined as follows:
27
            All New York residents whose personal information was compromised in the data
28          breach publicly announced by Sequoia in December 2022.

                                                -9-
                                        CLASS ACTION COMPLAINT
          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 10 of 19




1           39. The Nationwide Class, Utah Subclass, and New York Subclass are collectively referred to
2    herein as the “Class” unless otherwise stated.
3           40. Excluded from the proposed Class are Defendants, including any entity in which any
4    Defendant has a controlling interest, is a subsidiary, or which is controlled by any Defendant, as well
5    as the officers, directors, affiliates, legal representatives, heirs, predecessors, successors, and assigns
6    of any Defendant.
7           41. Plaintiffs reserve the right to amend or modify the class definitions with greater specificity
8    or division, or create and seek certification of additional classes, after having had an opportunity to
9    conduct discovery.
10          42. Numerosity: Although the exact number of Class members is uncertain and can only be
11   ascertained through appropriate discovery, the number is great enough – with the Data Breach
12   impacting, on information and belief, millions of individuals – such that joinder is impracticable. The
13   disposition of the claims of these Class members in a single action will provide substantial benefits to
14   all parties and to the Court. Class members may be identifiable from objective means, such as
15   information and records in Defendants’ possession, custody, or control.
16          43. Commonality and Predominance: Common questions of law and fact exist as to the
17   proposed Class members and predominate over questions affecting only individual Class members.
18   These common questions include:
19              a. Whether Defendants knew or should have known that their systems were vulnerable to
20                  unauthorized access;
21              b. Whether Defendants failed to take adequate and reasonable measures to ensure their
22                  data systems were protected;
23              c. Whether Defendants failed to take available steps to prevent and stop the breach from
24                  happening;
25              d. Whether Defendants owed a legal duty to Plaintiffs and Class members to protect their
26                  PII;
27              e. Whether Defendants breached any duty to Plaintiffs and Class members by failing to
28                  exercise due care in protecting their PII;

                                                -10-
                                         CLASS ACTION COMPLAINT
         Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 11 of 19




1               f. Whether Plaintiffs and Class members are entitled to actual, statutory, or other forms
2                   of damages, and other monetary relief; and
3               g. Whether Plaintiffs and Class members are entitled to equitable relief, including, but
4                   not limited to, injunctive relief or restitution.
5           44. Typicality: Plaintiffs’ claims are typical of the claims of other Class members. All Class
6    members were subject to the data breach and had their PII accessed by and/or disclosed to
7    unauthorized third parties.
8           45. Adequacy of Representation: Plaintiffs are adequate representatives of the Class because
9    their interests do not conflict with the interests of the other Class members they seek to represent; they
10   have retained counsel competent and experienced in class action litigation and data breach litigation,
11   and Plaintiffs will prosecute this action vigorously. The interests of the Class will be fairly and
12   adequately protected by Plaintiffs and their counsel.
13          46. Declaratory and Injunctive Relief: The prosecution of separate actions by individual
14   Class members would create a risk of inconsistent or varying adjudications with respect to individual
15   Class members that would establish incompatible standards of conduct for Defendants. Such
16   individual actions would create a risk of adjudications that would be dispositive of the interests of
17   other Class members and impair their interests. Defendants have acted and/or refused to act on
18   grounds generally applicable to the Class, making injunctive relief or corresponding declaratory relief
19   appropriate.
20          47. Superiority: A class action is superior to any other available means for the fair and
21   efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered in
22   the management of this matter as a class action. The damages, harm, or other financial detriment
23   suffered individually by Plaintiffs and Class members are relatively small compared to the burden and
24   expense that would be required to litigate their claims on an individual basis against Defendants,
25   making it impracticable for Class members to individually seek redress for Defendants’ wrongful
26   conduct. Even if Class members could afford individual litigation, the court system could not.
27   Individual litigation would create a potential for inconsistent or contradictory judgments and increase
28   the delay and expense to all parties and the court system. By contrast, the class action device presents

                                               -11-
                                        CLASS ACTION COMPLAINT
         Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 12 of 19




1    far fewer management difficulties and provides the benefits of single adjudication, economies of scale,
2    and comprehensive supervision by a single court.
3                                          FIRST CAUSE OF ACTION
4                                                    Negligence
5                                      (On behalf of the nationwide class)
6             48. Plaintiffs incorporate by reference all previous allegations as though fully set forth herein.
7             49. As a condition of receiving Sequoia’s services, Plaintiffs and Class members were required
8    to provide Sequoia with their PII.
9             50. Plaintiffs and Class members entrusted their PII to Sequoia with the understanding that
10   Sequoia would take reasonable measures to safeguard their PII.
11            51. Sequoia owed a duty to Plaintiffs and Class Members to exercise reasonable care in
12   obtaining, retaining, securing, safeguarding, deleting, and protecting the PII entrusted to it from being
13   compromised, lost, stolen, accessed, or misused by unauthorized persons. This duty included: (a)
14   designing, maintaining, and testing Sequoia’s security systems to ensure that Plaintiffs’ and Class
15   Members’ PII in Sequoia’s possession was adequately secured and protected; (b) designing,
16   maintaining, and testing the configuration of any cloud storage or other external services used by
17   Sequoia to ensure the PII stored in or accessible from them was adequately secured and protected
18   including protection against any known or unknown threats; (c) implementing processes that would
19   detect a breach of its security systems in a timely manner; (d) timely acting upon warnings and alerts,
20   including those generated by these security systems; and (e) maintaining data security measures
21   consistent with industry standards.
22            52. Sequoia’s duty to use reasonable care arose from several sources, including those listed
23   below.
24               a. Sequoia had a common law duty to prevent foreseeable harm to others. This duty
25                   existed because Plaintiffs and Class members were the foreseeable and probable
26                   victims of any inadequate security practices. Not only was it foreseeable that Plaintiffs
27                   and Class members would be harmed by the failure to protect their PII because hackers
28                   routinely attempt to steal such information and use it for identity theft, Sequoia knew

                                                 -12-
                                          CLASS ACTION COMPLAINT
         Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 13 of 19




1                   that it was more likely than not that Plaintiffs and other Class members would be
2                   harmed in the event of a Data Breach.
3               b. Sequoia’s duty also arose under Section 5 of the Federal Trade Commission Act (“FTC
4                   Act”), 15 U.S.C. § 45, which prohibits “unfair . . . practices in or affecting commerce,”
5                   including, as interpreted and enforced by the FTC, the unfair practice of failing to use
6                   reasonable measures to protect PII by companies such as Sequoia. Various FTC
7                   publications and data security breach orders also form the basis of Sequoia’s duty. In
8                   addition, individual states have enacted statutes based upon the FTC Act that also
9                   created Sequoia’s duty.
10              c. Sequoia’s duty also arose from Sequoia’s unique position as an organization that
11                  specializes in handling PII. Sequoia holds itself out as a trusted steward of the PII that
12                  it receives, and thereby assumes a duty to reasonably protect that data. Otherwise,
13                  Plaintiffs and Class members would be powerless to fully protect their interests with
14                  regard to their PII in Sequoia’s hands.
15              d. Sequoia’s duty also arose under state statutes that required Sequoia to reasonably
16                  safeguard sensitive PII, as detailed herein.
17          53. Sequoia breached the duties it owed to Plaintiffs and Class members described above and
18   was thus negligent by, among other things, failing to: (a) exercise reasonable care and implement
19   adequate security systems, protocols, and practices, sufficient to protect the PII of Plaintiffs and Class
20   members; (b) maintain security systems consistent with industry standards; (c) failing to encrypt the
21   PII in its possession; (d) and failing to provide adequate and timely notice of the Data Breach to
22   consumers.
23          54. Plaintiffs and Class members were the foreseeable victims of Sequoia’s inadequate data
24   security. Sequoia knew that a breach of its systems could cause harm to Plaintiffs and Class members.
25          55. Sequoia’s conduct created a foreseeable risk of harm to Plaintiffs and Class members.
26   Sequoia’s conduct included its failure to adequately secure its cloud storage infrastructure to protect
27   the PII of Plaintiffs and Class members.
28          56. Sequoia knew or should have known of the inherent risks in collecting and storing massive

                                               -13-
                                        CLASS ACTION COMPLAINT
          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 14 of 19




1    amounts of PII, the importance of providing adequate data security over that PII, and the frequent
2    cyberattacks on businesses that store sensitive PII like that in Sequoia’s possession.
3            57. Plaintiffs and Class members had no ability to protect their PII once it was in Sequoia’s
4    possession and control. Sequoia was in an exclusive position to protect against the harm suffered by
5    Plaintiffs and Class members as a result of the Data Breach.
6            58. But for Sequoia’s breach of its duties, the PII of Plaintiffs and Class members would not
7    have been compromised in the Data Breach.
8            59. There is a temporal and close causal connection between Sequoia’s failure to implement
9    adequate data security measures, the Data Breach, and the harms suffered by Plaintiffs and Class
10   members.
11           60. As a direct and proximate result of Sequoia’s negligence, Plaintiffs and Class members
12   have been injured and are entitled to damages in an amount to be proven at trial. Such injuries include
13   the following: ongoing, imminent, impeding threat of identity theft and fraud, resulting in monetary
14   loss, economic harm, and loss of time; actual identity theft and fraud, resulting in monetary loss,
15   economic harm, and loss of time; loss of value in their PII; mitigation expenses and time spent on
16   credit monitoring, identity theft insurance, and credit freezes and unfreezes; time spent in response to
17   the Data Breach reviewing bank statements, credit card statements, and credit reports, among other
18   activities; expenses and time spent initiating fraud alerts; loss of the benefit of the bargain that Sequoia
19   agreed to provide to Plaintiffs and Class Members; and lost work time.
20                                      SECOND CAUSE OF ACTION
21                                               Negligence per se
22                                     (On behalf of the nationwide class)
23           61. Plaintiffs incorporate by reference all previous allegations as though fully set forth herein.
24           62. Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in or affecting
25   commerce” including, as interpreted and enforced by the FTC, the unfair act or practice by companies
26   such as Sequoia of failing to use reasonable measures to protect PII.
27           63. The FTC publications and orders also form the basis of Sequoia’s duty.
28           64. Sequoia violated Section 5 of the FTC Act (and similar state statutes) by failing to use

                                                -14-
                                         CLASS ACTION COMPLAINT
         Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 15 of 19




1    reasonable measures to protect PII and not complying with industry standards. Sequoia’s conduct was
2    particularly unreasonable given the nature and amount of PII it obtained and stored and the foreseeable
3    consequences of a data breach of that data.
4              65. Sequoia’s violation of Section 5 of the FTC Act (and similar state statutes) constitutes
5    negligence per se.
6              66. Class members are consumers within the class of persons Section 5 of the FTC Act (and
7    similar state statutes) was intended to protect.
8              67. Moreover, the harm that has occurred is the type of harm the FTC Act (and similar state
9    statutes) was intended to guard against. Indeed, the FTC has pursued over fifty enforcement actions
10   against businesses which, as a result of their failure to employ reasonable data security measures and
11   avoid unfair and deceptive practices, caused the same harm suffered by Plaintiffs and the Class.
12             68. As a direct and proximate result of Sequoia’s negligence, Plaintiffs and Class members
13   have been injured as described herein and in Paragraph 60 above, and are entitled to damages,
14   including compensatory, punitive, and nominal damages, in an amount to be proven at trial.
15                                         THIRD CAUSE OF ACTION
16                                Violation of New York General Business Law
17                                           N.Y. Gen. Bus. Law § 349
18                        (On behalf of Plaintiff Abardo and the New York Subclass)
19             69. Plaintiff Abardo incorporates by reference all previous allegations as though fully set forth
20   herein.
21             70. New York Gen. Bus. Law § 349(a) states: “Deceptive acts or practices in the conduct of
22   any business, trade or commerce in the furnishing of any service in this state are hereby declared
23   unlawful.”
24             71. Sequoia engaged in deceptive acts or practices in the furnishing of services in New York
25   in violation of N.Y. Gen. Bus. Law § 349(a) by, among other things:
26                a. Omitting and concealing the material fact that it did not employ reasonable measures
27                    to secure the PII of Plaintiff Abardo and the New York Subclass. Sequoia could and
28                    should have made a proper disclosure of its failure to employ reasonable safeguards

                                                 -15-
                                          CLASS ACTION COMPLAINT
         Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 16 of 19




1                  prior to contracting to provide services to the companies that employ Plaintiff Abardo
2                  and the New York Subclass. Sequoia also could and should have made a proper
3                  disclosure of its failure to employ reasonable safeguards directly to consumers at the
4                  time that it requested or received their PII, or by any other means reasonably calculated
5                  to inform the New York Subclass of the inadequate data security.
6               b. Making implied or implicit representations that its data security practices were
7                  sufficient to protect the PII of Plaintiff Abardo and the New York Subclass. Sequoia
8                  required members of the New York Subclass to provide their PII, either directly or
9                  through their employers. In doing so, Sequoia made implied or implicit representations
10                 that its data security practices were sufficient to protect consumers’ PII. By virtue of
11                 accepting the PII of Plaintiff Abardo and the New York Subclass, Sequoia implicitly
12                 represented that its data security procedures were sufficient to safeguard their PII.
13                 Those representations were false and misleading.
14              c. Failing to adopt reasonable safeguards to protect the New York Subclass members’ PII
15                 in violation of N.Y. Gen. Bus. Law § 899-bb, which states: “Any person or business
16                 that owns or licenses computerized data which includes private information of a
17                 resident of New York shall develop, implement, and maintain reasonable safeguards
18                 to protect the security, confidentiality, and integrity of the private information. . . . Any
19                 person or business that fails to comply with this subdivision shall be deemed to have
20                 violated section three hundred forty-nine of this chapter.”
21              d. Omitting and concealing the material fact that it did not comply with common law and
22                 statutory duties pertaining to data security, including but not limited to duties imposed
23                 by the FTC Act, 15 U.S.C. § 45.
24          72. Sequoia’s representations and omissions were material because they were likely to deceive
25   reasonable consumers about the adequacy of Sequoia’s data security and ability to protect the
26   confidentiality of the New York Subclass’s PII.
27          73. N.Y. Gen. Bus. Law § 349(h) states:
28

                                              -16-
                                       CLASS ACTION COMPLAINT
         Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 17 of 19



            [A]ny person who has been injured by reason of any violation of this section may
1           bring an action in his own name to enjoin such unlawful act or practice, an action to
            recover his actual damages or fifty dollars, whichever is greater, or both such actions.
2           The court may, in its discretion, increase the award of damages to an amount not to
            exceed three times the actual damages up to one thousand dollars, if the court finds
3           the defendant willfully or knowingly violated this section. The court may award
            reasonable attorney’s fees to a prevailing plaintiff.
4

5           74. The various types of damages suffered by Plaintiff Abardo and the New York Subclass
6    alleged herein satisfy both the “injured” and “actual damages” requirements of N.Y. Gen. Bus. Law
7    § 349(h). Plaintiff Abardo and the New York Subclass have suffered and will continue to suffer injury,
8    ascertainable losses of money or property, and monetary and non-monetary damages, including from
9    fraud and identity theft, time and expenses related to monitoring their financial accounts for fraudulent
10   activity, an increased, imminent risk of fraud and identity theft, loss of value of their PII, and loss of
11   the benefit of the bargain that Sequoia agreed to provide to Plaintiffs and Class Members.
12          75. Plaintiff Abardo and the New York Subclass are entitled to treble damages of up to $1,000
13   under N.Y. Gen. Bus. Law § 349(h) because Sequoia “willfully or knowingly” violated N.Y. Gen.
14   Bus. Law § 349(a). Sequoia knew or should have known that its data security practices were deficient.
15   Given the volume and sensitivity of the PII in Sequoia’s possession, Sequoia knew or should have
16   known that it would be a likely target for sophisticated cyberattacks. Sequoia should have taken
17   adequate measures to protect against such cyberattacks and should have been aware of any
18   shortcomings. Sequoia also willfully and knowingly failed to encrypt or redact the PII.
19          76. Sequoia’s deceptive and unlawful practices affected the public interest and consumers at
20   large, including thousands or more of New York residents affected by the Data Breach.
21          77. Sequoia’s deceptive and unlawful practices caused substantial injury to Plaintiff Abardo
22   and New York Subclass members that those individuals could not reasonably avoid.
23          78. Plaintiff Abardo and the New York Subclass are entitled to the injunctive relief sought
24   herein because, among other things, Sequoia continues to retain their PII and may subject that PII to
25   further data breaches unless injunctive relief is granted.
26          79. Plaintiff Abardo and the New York Subclass seek all monetary and non-monetary relief
27   allowed by law, including actual damages or statutory damages of $50 (whichever is greater), treble
28   damages, injunctive relief, and attorney’s fees and costs.

                                               -17-
                                        CLASS ACTION COMPLAINT
          Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 18 of 19




1                                          REQUEST FOR RELIEF
2            WHEREFORE, Plaintiffs, individually, and on behalf of all others similarly situated,
3    respectfully request the following relief:
4                a. An order certifying the proposed Class as requested herein, appointing Plaintiffs as
5                    class representatives and their undersigned counsel as class counsel;
6                b. An order finding that Defendants engaged in the unlawful conduct as alleged herein;
7                c. An order enjoining Defendants from engaging in the wrongful conduct alleged herein
8                    concerning disclosure and inadequate protection of Plaintiffs’ and Class members’
9                    PII;
10               d. A mandatory injunction directing Defendants to hereinafter adequately safeguard
11                   Plaintiffs’ and Class members’ PII by implementing improved security procedures
12                   and measures;
13               e. An award of compensatory, statutory, and punitive damages, as appropriate, in an
14                   amount to be determined;
15               f. An award of pre-judgment and post-judgment interest on all amounts awarded;
16               g. An award of Plaintiffs’ and Class members’ reasonable attorney’s fees and litigation
17                   expenses; and
18               h. Such other relief as the Court deems just and proper.
19                                                JURY DEMAND
20           Plaintiffs, individually, and on behalf of all others similarly situated, hereby demand a trial by
21   jury as to all matters so triable.
22

23   Dated: December 12, 2022                                   Respectfully submitted,
24                                                              /s/ David M. Berger
25                                                              GIBBS LAW GROUP LLP
                                                                David M. Berger (SBN 277526)
26                                                              Linda P. Lam (SBN 301461)
                                                                Jeffrey B. Kosbie (SBN 305424)
27                                                              1111 Broadway, Suite 2100
                                                                Oakland, California 94607
28

                                                 -18-
                                          CLASS ACTION COMPLAINT
     Case 3:22-cv-08217-WHO Document 1 Filed 12/12/22 Page 19 of 19



                                            Telephone: (510) 350-9700
1                                           Facsimile: (510) 350-9701
2                                           dmb@classlawgroup.com
                                            lpl@classlawgroup.com
3                                           jbk@classlawgroup.com

4                                           Counsel for Plaintiffs
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                  -19-
                           CLASS ACTION COMPLAINT
